                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA


 FELISHA L. LASHLEY,

        Plaintiff,                      Case No. 3:12-cv-00197-RRB
 vs.
                                        ORDER GRANTING MOTION FOR
 HORACE MANN TEACHERS                   PARTIAL SUMMARY JUDGMENT
 INSURANCE, INC.,

        Defendant.


       Before the Court is Defendant Teachers Insurance Company with

a Motion for Partial Summary Judgment Re No Duty to Arbitrate and

Advance Pay at Docket 17. Plaintiff Lashley concedes the advance

pay issue but opposes the arbitration issue in her Opposition at

Docket 29. Defendant’s Reply is filed at Docket 30.

       A review of the insurance policy in question shows it to be

clear and unambiguous on the issue of arbitration. Under the terms

of this policy arbitration is a vehicle for resolving a dispute

between the insurer and the insured if both parties agree to pursue

it. Arbitration is not required of either party. No reasonable

reading of the relevant language would suggest otherwise. Nor was

the arbitration provision intended to replace the right of either



ORDER GRANTING MOTION FOR PARTIAL
    SUMMARY JUDGMENT AT DOCKET 17 - 1
3:12-cv-0197-RRB


        Case 3:12-cv-00197-RRB Document 35 Filed 04/12/13 Page 1 of 2
party to a jury trial if they so desired. The right to a jury trial

was clearly spelled out in the policy as well. Furthermore, there

is no reason to believe that arbitration would favor one party or

the other or that arbitration would necessarily provide a better

result for one party or the other.

      The Court cannot conclude, as a matter of law, that it would

violate the policy language for one party or the other to elect to

forgo arbitration and proceed to trial. Nor can the Court find, as

a matter of law, that the Defendant’s decision to forgo arbitration

can be viewed, in and of itself, as evidence of bad faith.

      Therefore, for the reasons set forth above, as well as for

those reasons set forth by Defendant in its relevant pleadings, the

Motion for Partial Summary Judgment Re No Duty to Arbitrate and

Advance Pay at Docket 17 is hereby GRANTED.

      IT IS SO ORDERED this 12th day of April, 2013.

                                        S/RALPH R. BEISTLINE
                                        UNITED STATES DISTRICT JUDGE




ORDER GRANTING MOTION FOR PARTIAL
    SUMMARY JUDGMENT AT DOCKET 17 - 2
3:12-cv-0197-RRB


        Case 3:12-cv-00197-RRB Document 35 Filed 04/12/13 Page 2 of 2
